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                 UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF RHODE ISLAND



Mary Seguin

      v.                                  Civil No. 12-cv-614-JD

Haiganush R. Bedrosian, Chief
Judge of the Family Court of
Rhode Island, et al.


                                  O R D E R

      Mary Seguin brought suit against Rhode Island Family Court

judges and Rhode Island state officials, alleging claims under 42

U.S.C. § 1983, federal criminal statutes, and state law, arising

out of a series of orders issued in cases relating to custody

proceedings involving Seguin.        Seguin filed a motion for a

preliminary injunction, which was referred to Magistrate Judge

Landya B. McCafferty.       The magistrate issued a Report and

Recommendation concluding that the motion should be denied.

Seguin objected to the magistrate’s recommendation and moved to

vacate reference of the motion to the magistrate.            The defendants

objected to the motion to vacate reference to the magistrate, and

also moved to dismiss Seguin’s amended complaint and to strike

the subsequent amended complaints.         Seguin objected to the

defendants’ motions.
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                                 Background

      This case arises out of child custody proceedings in the

Rhode Island Family Court (“Family Court”) involving Seguin and

her children, including proceedings instituted by Gero Meyersiek,

the father of one of Seguin’s daughters, naming Seguin as the

respondent.     See Meyersiek v. Seguin, No. K01-0521M (R.I. Fam.

Ct., Kent Cnty.).      Divorce and child custody proceedings between

Seguin and her ex-husband, Marc Seguin, are also pending in the

Family Court.     See Seguin v. Seguin, No. K01-10503 (R.I. Fam.

Ct., Kent Cnty.).      Both of these proceedings are at issue in this

case.

      Judge Michael Forte of the Family Court granted Meyersiek

sole temporary custody of his daughter in an order granting a

motion for emergency relief dated January 11, 2010.            Thereafter,

the Family Court issued a series of orders, in both the Meyersiek
and Seguin proceedings, concerning custody, support, and

visitation issues.      Seguin asserts that the Family Court’s orders

were generally issued in her absence, without notice, without

findings, and without a stenographic record prepared, and were

intended to retaliate against Seguin for filing reports with

federal authorities regarding misconduct in her Family Court

proceedings.     Seguin has been, at times, represented by counsel



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in the Family Court proceedings, and counsel has filed objections

to certain of the Family Court’s orders on Seguin’s behalf.

      On June 22, 2010, in the child custody proceedings that

followed the Seguins’ divorce, Judge Stephen Capineri issued an

order, which limited Seguin’s visitation rights and rights to

communicate with her daughter, while granting Marc Seguin

temporary sole custody and physical possession of their daughter.

Seguin, through counsel, filed a petition for a writ of

certiorari in the Rhode Island Supreme Court (“Supreme Court”)

challenging the June 22, 2010, order.          In the certiorari

petition, Seguin asserted that the Family Court in the Meyersiek

proceedings issued a similar order on January 11, 2010, in

response to an emergency motion that Seguin’s counsel

characterized as an abuse of process.          The Supreme Court denied

Seguin’s petition for a writ of certiorari on September 9, 2010.

See Seguin v. Seguin, No. SU-2010-22-M.P. (R.I. Sept. 9, 2010)
(Ex. G to Defs.’ Mot. to Dismiss Am. Comp. (document no. 62-20)).

      After reading news reports about unrelated litigation filed

in Rhode Island regarding truancy cases allegedly mishandled by

the Family Court, Seguin filed a report with the United States

Justice Department regarding those truancy cases in December

2010, and also provided federal authorities with information

regarding her child custody proceedings.          Then, on December 14,

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2010, Judge Capineri recused himself from the child custody

proceedings involving Marc Seguin and from the Meyersiek

proceedings.

      After Judge Capineri recused himself, Chief Family Court

Judge Haiganush Bedrosian presided over the Meyersiek

proceedings.     Judge Bedrosian issued a series of restraining

orders against Seguin, from January 7, 2011, through March 29,

2011, in a related Family Court proceeding in Providence County.

See Meyersiek v. Seguin, No. P11-0026A (R.I. Fam. Ct., Providence

Cnty.).    On March 29, 2011, all of the Meyersiek proceedings were

reassigned from Judge Bedrosian to Judge John McCann.             Seguin

alleges that Judge Bedrosian recused herself at that time because

of the pending Justice Department investigation and that Judge

Bedrosian instructed Judge McCann to continue to issue

retaliatory orders against Seguin.         The Meyersiek proceeding

remains pending in the Kent County Family Court before Judge

McCann.

      Seguin filed a complaint in the Rhode Island Superior Court

(“Superior Court”) against the judges involved in the custody

proceedings alleging, among other things, that the various orders

interfered with Seguin’s parental rights and right to travel,

that the judges who issued the orders were biased, that the

orders were retaliation for the misconduct reports she filed with

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the United States Justice Department, that the Family Court

proceedings violated state laws requiring that all proceedings be

transcribed or recorded, and that she was deprived of due process

of law.    See Seguin v. Bedrosian, No. 2012-0124 (R.I. Super. Ct.,

Providence Cnty.).      In August 2012, following a hearing, the

Superior Court dismissed the complaint, finding that: (1) the

Superior Court lacked authority to review Family Court orders;

(2) Seguin’s claims asserting violations of federal criminal laws

were not based on viable private causes of action; and (3) the

Family Court judges were absolutely immune from suit.             See id.

(Aug. 4, 2012).      Judgment was entered on October 4, 2012, and

Seguin does not appear to have appealed the dismissal of her

Superior Court action to the Supreme Court.           Instead, shortly

after obtaining the adverse Superior Court decision, but before

judgment was entered, Seguin filed the complaint in this action.

      Seguin’s complaint in this action asserts essentially the

same claims as were asserted in the Superior Court action.              Her

claims are based on alleged constitutional violations, federal

criminal statutes, and Rhode Island state law.           Seguin seeks

injunctive and declaratory relief as to the judicial defendants

and other Rhode Island state official defendants, including Peter

Kilmartin, the Attorney General of Rhode Island, whom Seguin



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suggests were complicit in the judicial defendants’ illegal

activity.    Seguin also seeks monetary damages from Kilmartin.



                                 Discussion

      Seguin filed a motion for a preliminary injunction, seeking

to enjoin the defendants from presiding over her child custody

proceedings, to prohibit the defendants from enforcing or issuing

orders, and to declare void prior Family Court orders issued in

the child support proceedings.        The court referred the motion to

the magistrate, who issued a report and recommendation (“R&R”)

concluding that Seguin’s motion should be denied.            Seguin

objected to the R&R and also moved to vacate the order referring

the motion to the magistrate.

      After the magistrate issued the R&R, Seguin filed an amended

complaint and, subsequently, three additional amended complaints.

The defendants have moved to dismiss Seguin’s first amended

complaint and to strike the subsequent amended complaints.



I.    Motion to Vacate Referral Order and Objection to R&R

      On October 24, 2012, the magistrate issued an R&R concluding

that Seguin’s motion for a preliminary injunction should be

denied based on Younger abstention.         See Younger v. Harris, 401

U.S. 37 (1971).      Seguin filed a timely objection to the R&R and,

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in the same filing, moved to vacate the reference of the motion

to the magistrate.1      The defendants argue that reference of the

motion to the magistrate was proper and that the magistrate

correctly found that Younger abstention applies.



      A.    Motion to Vacate Reference

      In support of her motion to vacate reference of the motion

for a preliminary injunction to the magistrate, Seguin argues

that the magistrate is biased because the R&R did not address

Seguin’s allegations of racial and gender discrimination in the

underlying state proceedings.        Seguin contends that there is no

plausible explanation for the magistrate’s failure to discuss

those allegations other than that the magistrate is biased, and

that her bias deprived Seguin of due process.

      28 U.S.C. § 636(c)(4) provides: “[t]he court may . . . under

extraordinary circumstances shown by any party, vacate a

reference of a civil matter to a magistrate judge under this

subsection.”     See also Fed. R. Civ. P. 73(b)(3).         “The


      1
      Seguin submitted her filing containing both the objection
to the R&R and the motion to vacate reference to the magistrate
twice (document nos. 35 and 36). Although the two documents
appear to be identical, the first is docketed as Seguin’s
objection, and the second is docketed as Seguin’s motion to
vacate. Seguin subsequently filed a second motion to vacate the
reference to the magistrate (document no. 60), which repeats a
portion of her earlier filings.

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‘extraordinary circumstances’ standard is difficult to satisfy.”

Zerega Ave. Realty Corp. v. Hornbeck Offshore Transp., LLC, 2011

WL 70593, at *3 (S.D.N.Y. Jan. 10, 2011).          “Although

‘extraordinary circumstances’ remain somewhat undefined, courts

are clear that unfounded accusations of bias and empty charges of

impartiality cannot fall within the definition.”            McGrath v.

Everest Nat. Ins. Co., 2009 WL 4842837, at *9 (N.D. Ind. Dec. 10,

2009) (citing Manion v. Am. Airlines, Inc., 251 F. Supp. 2d 171,

173 (D.D.C. 2003)); see also Gleis v. Buehler, 2012 WL 1379323,

at *2 (D. Conn. Apr. 20, 2012) (“judges do not vacate referrals

whenever bias is alleged but instead require the movant to point

to facts satisfying the statute’s standard of extraordinary

circumstances”).      Further, “[b]ecause issues regarding a judge’s

impartiality must generally arise from ‘extrajudicial’ factors,

‘judicial rulings alone almost never constitute a valid basis for

a bias or partiality motion.’”        M&I Marshall & Ilsley Bank v.

McGill, 2011 WL 2464184, at *1 (D. Ariz. June 21, 2011) (quoting

Liteky v. United States, 510 U.S. 540, 554 (1994)).

      Seguin argues that extraordinary circumstances exist because

the magistrate is biased, as evidenced by the R&R’s failure to

cite to the phrase “because the grandmother does not speak

English,” which Seguin alleges was the basis for the Family



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Court’s orders depriving her of her custodial rights.2            Seguin

also alleges bias based on the magistrate’s failure to cite

Seguin’s allegations of gender discrimination, which appear to be

predicated on the existence of custody orders issued against her

while she was, as she describes herself, “a pregnant Texas woman

on the verge of giving birth.”

      Seguin’s charges of bias do not meet the definition of

extraordinary circumstances.3        See, e.g., Moses v. Sterling

Commerce (Am.), Inc., 122 Fed. Appx. 177, 182 (6th Cir. 2005)

(“These conclusory allegations [of prejudice and bias]

demonstrate a distaste for how this case was being resolved by

the magistrate judge.       A motion to vacate the reference cannot

stand on these grounds.”).        Case law is clear that “[a]

magistrate judge’s purported ‘bias,’ as allegedly manifested

through his or her rulings, does not meet the ‘extraordinary

circumstances’ standard.”       Zerega Ave., 2011 WL 70593, at *3; see


      2
      The actual quote, which is included in the “emergency
motion for ex parte relief” filed by Meyersiek, appears to be
that Seguin left her children “with the maternal grandmother who
does not speak English.” Seguin infers that because this
allegation was included in the motions for custodial relief, the
Family Court granted the motions “because the grandmother does
not speak English.”
      3
      The magistrate discussed Seguin’s allegations of “biased
judges and invalid procedures,” but did not mention the specific
allegations about which Seguin complains.

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 also Manion, 251 F. Supp. 2d at 174-75; Doe v. Nat’l Bd. of Med.

 Exam’rs, 2001 WL 1003206, at *4 (E.D. Pa. Aug. 14, 2001); Frank

 v. County of Hudson, 962 F. Supp. 41, 44 (D.N.J. 1997); Clay v.

 Brown, Hopkins & Stambaugh, 892 F. Supp. 11, 12-13 (D.D.C. 1995).

       Accordingly, Seguin’s motions to vacate the reference to the

 magistrate do not demonstrate extraordinary circumstances and are

 therefore denied.



       B.    The Magistrate’s R&R

       The magistrate recommended denial of Seguin’s motion for a

 preliminary injunction based on the application of the Younger

 abstention doctrine.      In her objection to the R&R, Seguin argues

 that Younger abstention does not apply because her case presents

 extraordinary circumstances, including extreme bias and immediate

 irreparable harm, and further suggests that bias in the Supreme

 Court prevents her from pursuing her claims in state court.4




       4
       A district court is not bound to accept the magistrate
 judge’s recommendations on the disposition of any pretrial
 matter. See 28 U.S.C. § 636(b)(1). Thus, a district court “may
 accept, reject, or modify, in whole or in part, . . . the
 recommendations made by the magistrate judge.” Id.; see also
 United States v. Raddatz, 447 U.S. 667, 676 (1980) (district
 court has broad discretion to review recommendations of
 magistrate judge).

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             1.    Younger factors

       The Younger abstention doctrine specifically requires

 federal courts to abstain from exercising jurisdiction when the

 plaintiff in the federal case is seeking to enjoin ongoing state

 proceedings.     See Younger, 401 U.S. at 43-44.        As interpreted,

 Younger abstention establishes “a court-made rule of abstention

 built around the principle that, with limited exceptions, federal

 courts should refrain from issuing injunctions that interfere

 with ongoing state-court litigation.”         Maymo-Melendez v. Alvarez-

 Ramirez, 364 F.3d 27, 31 (1st Cir. 2004).          Younger abstention is

 therefore “appropriate when the requested relief would interfere

 (1) with an ongoing state judicial proceeding; (2) that

 implicates an important state interest; and (3) that provides an

 adequate opportunity for the federal plaintiff to advance his

 federal [claim].”     Rossi v. Gemma, 489 F.3d 26, 34-35 (1st Cir.

 2007); see also Middlesex Cnty. Ethics Comm. v. Garden State Bar

 Ass’n, 457 U.S. 423, 431-32 (1982).

       With regard to the first factor, Seguin seeks to enjoin

 ongoing Family Court proceedings concerning the custody of her

 children, to declare orders issued in those proceedings void, to

 declare illegal and/or unconstitutional the procedures employed

 in those proceedings, and to enjoin the Family Court from

 enforcing its orders.      The relief Seguin seeks would interfere

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 extensively with the ongoing judicial Family Court proceedings.

 See Montgomery v. Montgomery, 764 F. Supp. 2d 328, 333 (D.N.H.

 2011) (“[a] federal-court proceeding ‘interferes’ with a state-

 court proceeding for Younger purposes when it either ‘enjoins the

 state proceeding or has the practical effect of doing so’”)

 (quoting Rio Grande Cmty. Health Ctr., Inc. v. Rullan, 397 F.3d

 56, 70 (1st Cir. 2005)).       As for the second factor, the state has

 a strong interest in the issues presented in the Family Court

 cases, including child custody issues and the procedures employed

 in Family Court.     See Colassi v. Looper, 2008 WL 2115160, at *2-

 *3 (D.N.H. May 20, 2007) (state has strong interest in child

 custody issues, including orders affecting custodial parent’s

 ability to relocate out of state (citing Moore v. Sims, 442 U.S.

 415, 422-23 (1979) and Malachowski v. City of Keene, 787 F.2d

 704, 708-09 (1st Cir. 1986))); see also Mann v. Conlin, 22 F.3d

 100, 106 (6th Cir. 1994).

       As for the third factor, whether the state judicial

 proceeding provides an adequate opportunity for Seguin to advance

 her claims, Seguin has not “demonstrate[d] that ‘state procedural

 law barred [the] presentation of’” those claims.           Murphy v. City

 of Manchester, 70 F. Supp. 2d 62, 69 (D.N.H. 1999) (quoting

 Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 14 (1987)).            Although

 Seguin implies that she does not have the opportunity to present

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 her claims because the Supreme Court denied her petition for a

 writ of certiorari to review an order issued in the divorce/child

 custody proceeding, that denial does not render the appellate

 process “inadequate” for the purposes of excepting this case from

 application of the Younger abstention doctrine.           See Parent v.

 New York, 2012 WL 2213658, at *2 (2d Cir. June 18, 2012) (“simply

 because the state courts have not issued decisions in [the

 plaintiff’s] favor does not render them ‘inadequate’ for purposes

 of Younger abstention”); see also Huffman v. Pursue, Ltd., 420

 U.S. 592, 610 (1975).      To the extent Seguin suggests that the

 denial of her petition was because of the Supreme Court’s bias

 against her, and thus she cannot bring her claims in state court,

 the third Younger factor focuses only on whether any procedural

 impediments exist.5     See Hansel v. Town Ct., 56 F.3d 391, 394 (2d

 Cir. 1995) (“So long as a plaintiff is not barred on procedural

 or technical grounds from raising alleged constitutional

 infirmities, it cannot be said that state court review of

 constitutional claims is inadequate for Younger purposes.”).

       Seguin does not argue that Rhode Island law bars her from

 raising her claims in the Family Court proceedings or in the



       5
       Seguin’s allegations of bias in the Supreme Court are
 discussed further in the following section concerning exceptions
 to Younger abstention.

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 Supreme Court.6     “Absent some clear reason to think otherwise,

 the court must and does assume that state procedures will afford

 an adequate remedy.”      McKenna v. DeSisto, 2012 WL 4486268, at *4

 (D.R.I. Sept. 27, 2012) (internal quotations marks and citation

 omitted); see also Pennzoil, 481 U.S. at 15.           Therefore, the

 third Younger factor pertains to this case.



             2.    Younger exceptions

       Seguin argues that even if the three Younger factors are

 met, her case presents extraordinary circumstances requiring the

 court to intervene in the state proceedings.           Specifically,

 Seguin argues that the Family Court proceedings have been brought

 in bad faith and are motivated by, among other things, ethnic and

 racial bias, and retaliatory animus because she reported issues

 concerning the truancy cases and the Family Court proceedings to

 federal authorities.

       When the three Younger criteria are satisfied, abstention is

 required absent “exceptional circumstances,” which may include a

 situation where “irreparable injury is both great and immediate .


       6
       Although Seguin filed a petition for a writ of certiorari
 to review an order issued in the divorce/child custody
 proceeding, Seguin chose not to appeal the Superior Court order
 dismissing her case in which she brought constitutional claims
 similar to this action, despite that avenue being available. See
 R.I. Gen. Laws. §§ 8-1-2 & 14-1-52.

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 . . or where there is a showing of bad faith [or] harassment.”

 Mitchum v. Foster, 407 U.S. 225, 230 (1972) (internal quotation

 marks and citations omitted).        Extraordinary circumstances are

 also present in “cases in which extreme bias completely renders a

 state adjudicator incompetent.”        Esso Standard Oil Co. v. López-

 Freytes, 522 F.3d 136, 143 (1st Cir. 2008).          The “exceptions to

 Younger’s policy of abstention have been very narrowly construed

 by the Court.”     Bettencourt v. Bd. of Registration in Med. of

 Commonwealth of Mass., 904 F.2d 772, 779 (1st Cir. 1990)

 (internal quotation marks and citation omitted).           It is the

 plaintiff’s burden to “make sufficient specific factual

 allegations which support an inference that the particular

 exception applies and [she] cannot rely on general claims of

 misconduct.”     Kennedy v. Town of Billerica, 594 F Supp. 2d 117,

 124-25 (D. Mass. 2009) (internal quotation marks and citation

 omitted).

       Seguin argues that each of the judges of the Family Court is

 biased against her because they issued various orders against her

 in the custody proceedings.       Specifically, as discussed above,

 she alleges that ex-parte custody orders were issued because of

 allegations that her mother does not speak English, which

 suggests racial and ethnic bias, and that the Family Court did

 not terminate a domestic violence proceeding against her while

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 she was “a pregnant Texas woman on the verge of giving birth,”

 which suggests gender bias and discrimination.

       Although Seguin cites various orders which were decided in

 her adversaries’ favor and the recusal of several Family Court

 judges in her proceedings, “[t]he presumption of judicial

 impartiality cannot be trumped by free-floating invective,

 unanchored to specific facts.”        Brooks v. N.H. Supreme Court, 80

 F.3d 633, 640 (1st Cir. 1996) (“Judicial bias is a recognized

 basis for derailing Younger abstention, but the claim requires

 more than the frenzied brandishing of a cardboard sword.”); see

 also Gibson v. Berryhill, 411 U.S. 564, 577-79 (1973).            Seguin’s

 accusations and unfounded assumptions are not enough.            Therefore,

 Seguin has not sufficiently alleged that the Family Court judges

 are biased against her.

       To the extent Seguin implies that the Supreme Court

 necessarily endorses the Family Court’s alleged bias and,

 therefore, is unable to impartially review her claims against the

 defendant judges, that argument is similarly unavailing.             “[A]n

 entire group of adjudicators cannot be disqualified wholesale

 solely on the basis of an alleged institutional bias in favor of

 a rule or policy promulgated by that group.”           Brooks, 80 F.3d at

 640 (citing Doolin Sec. Savs. Bank v. FDIC, 53 F.3d 1395, 1407
 (4th Cir. 1995)).

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       Nor has Seguin adequately alleged that the Family Court

 proceedings were brought in bad faith or that she would suffer

 irreparable harm from abstention.         “‘[B]ad faith’ in [the

 Younger] context generally means that a prosecution has been

 brought without a reasonable expectation of obtaining a valid

 conviction.”     Kugler v. Helfant, 421 U.S. 117, 126 n.6 (1975).

 Here, the custody proceedings were instituted by Seguin’s ex-

 husbands, not the Family Court or the defendant judges.7

       Regardless, Seguin’s allegations of bad faith, which are

 predicated on conclusory assertions that the various orders

 issued against her in the Family Court proceedings were motivated

 by either racial, ethnic, or gender bias, retaliatory animus, or

 were issued to cover up an elaborate Racketeer Influenced and

 Corrupt Organization (“RICO”) enterprise are insufficient to

 demonstrate bad faith.7      See Douglas v. N.H. Supreme Court Prof.


       7
       Seguin’s suggestion that the court must engage in the
 analyses contained in Fitzgerald v. Peek, 636 F.2d 943 (5th Cir.
 1981) and Wilson v. Thompson, 593 F.2d 1375 (5th Cir. 1979) is
 misplaced for the same reasons. Those cases involve criminal
 prosecutions brought by states against individuals who were able
 to show that the actions were instituted as retaliation because
 the plaintiffs were exercising their constitutional rights.
       7
       As discussed below, Seguin’s amended complaint, which was
 filed after the magistrate issued the R&R, alleges the existence
 of a RICO enterprise within the Rhode Island state court system.
 Seguin’s objection to the R&R is based, in part, on the
 allegations in her amended complaint, and therefore references

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 Conduct Comm., 187 F.3d 621, 1998 WL 1085773, at *1 (1st Cir.

 1998) (“the element of illegal motive must be pleaded by alleging

 specific non-conclusory facts from which such motive may

 reasonably be inferred, not merely by generalized asseveration

 alone”) (internal quotation marks and citation omitted).

 Therefore, Seguin has not alleged that the bad faith exception

 applies.

       Nor has Seguin made “a showing of irreparable harm that is

 both great and immediate.”       Esso, 522 F.3d at 143.       Seguin has

 not shown that further review of her federal constitutional

 claims in the Family Court proceedings or in a petition to the

 Supreme Court, seeking to invoke that court’s appellate or

 supervisory jurisdiction, would be insufficient to alleviate any

 injury to her rights, without this court’s intervention.

       Accordingly, after due consideration of the objection filed,

 the court approves the R&R of Magistrate Judge McCafferty dated

 October 24, 2012.8     Because Younger applies, abstention is

 required, and the motion for preliminary injunctive relief is


 the allegations of a RICO enterprise.
       8
       “‘[O]nly those issues fairly raised by the objections to
 the magistrate’s report are subject to review in the district
 court and those not preserved by such objection are precluded on
 appeal.’” School Union No. 37 v. United Nat’l Ins. Co., 617 F.3d
 554, 564 (1st Cir. 2010) (quoting Keating v. Sec’y of Health &
 Human Servs., 848 F.2d 271, 275 (1st Cir. 1998)).

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 denied.9      See Colonial Life & Acc. Ins. Co. v. Medley, 572 F.3d

 22, 25 (1st Cir. 2009) (“If Younger requires abstention, ‘there

 is no discretion to grant injunctive relief.’”) (citation

 omitted).



 II.    Motion to Dismiss

        The magistrate’s R&R addressed Seguin’s first motion for a

 preliminary injunction which was based on allegations contained

 in Seguin’s original complaint.        Shortly after the magistrate

 issued the R&R, Seguin filed an amended complaint (document no.

 28).       The amended complaint added three new defendants:        Peter

 Kilmartin, the Attorney General of Rhode Island; Hugh Clements,

 the Chief of the Providence Police Department; and Steven

 O’Donnell, the Superintendent of the Rhode Island State Police.

 The amended complaint also added additional constitutional

 claims, allegations of a RICO conspiracy, and details concerning




        9
       Seguin also asserts that Younger abstention does not apply
 because Ex Parte Young applies instead. “The Ex Parte Young
 exception simply stated is that the Eleventh Amendment does not
 bar a suit for prospective injunctive relief against a named
 state official for ongoing federal law violations.” Office of
 Child Advocate v. Lindgren, 296 F. Supp. 2d 178, 188 (D.R.I.
 2004). The applicability of Ex Parte Young has no bearing on
 whether Younger abstention is required. See Younger, 401 U.S. at
 45.

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 Seguin’s claims.     The defendants move to dismiss the amended

 complaint.

       Seguin also filed three additional complaints:           a second

 amended complaint (“SAC”) (document no. 39), a revised second

 amended complaint (“RSAC”) (document no. 47), and another “second

 amended complaint” (“third complaint”) (document no. 74).             Seguin

 filed a “motion to amend/correct” the amended complaint on the

 same day she filed the RSAC, but has otherwise not sought the

 court’s leave to file any of the additional complaints.             The

 defendants move to strike each of the additional complaints,

 arguing that Seguin failed to obtain the defendants’ consent or

 leave of the court before filing the SAC, the RSAC, or the third

 complaint, as required by Federal Rule of Civil Procedure 15(a).



       A.    Operative Complaint
       “A party may amend its pleading once as a matter of course

 within:    (A) 21 days after serving it, or (B) if the pleading is

 one to which a responsive pleading is required, 21 days after

 service of a responsive pleading or 21 days after service of a

 motion under Rule 12(b), (e), or (f), whichever is earlier.”

 Fed. R. Civ. P. 15(a)(1).       All other amendments require either

 the opposing party’s written consent or leave of court.             See Fed.

 R. Civ. P. 15(a)(2).

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       “Leave to amend is ‘freely given when justice so requires,’

 but courts have discretion to deny such motions under appropriate

 circumstances, including undue delay and futility.”            Edlow v.

 RBW, LLC, 688 F.3d 26, 39 (1st Cir. 2005) (quoting Fed. R. Civ.

 P. 15(a)).    “[D]enial of [a] plaintiff[‘s] motion [to amend] as

 futile would be appropriate if the amended complaint still failed

 to state a claim sufficient to survive a motion to dismiss.”

 Platten v. HG Bermuda Exempted Ltd., 437 F.3d 118, 132 (1st Cir.

 2006).

       The amended complaint filed on October 26, 2012, is allowed

 under Rule 15(a)(1).      Seguin did not obtain the court’s leave to

 amend her amended complaint before filing either the SAC, the

 RSAC, or the third complaint.        Therefore, the defendants’ motions

 to strike those complaints are granted.          See Fed. R. Civ. P.

 15(a)(2).

       Even if the court were to consider the RSAC as merely a

 proposed complaint and attached to Seguin’s “motion to

 amend/correct” the amended complaint, as would have been

 appropriate under the Rhode Island Local Rules, see LR cv 15, the

 court would still deny the motion as futile.           The RSAC adds two

 additional defendants, Chief Judge Paul Suttell of the Supreme

 Court, and the Family Court itself.         The RSAC adds allegations

 (I) against Judge Suttell which concern Seguin’s attempts to

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 report the alleged illegal activity in the Family Court and Judge

 Suttell’s alleged contribution to that illegal activity in

 response to Seguin’s complaints, (ii) additional details

 concerning private agreements between state officials and

 Meyersiek, and (iii) additional details concerning the existence

 of a RICO enterprise within the Rhode Island state court system.

 As discussed below, these additional allegations do not change

 the applicability of Younger abstention, and, therefore, even if

 the RSAC were the operative complaint, it would still require

 dismissal.



       B.    Motion to Dismiss

       Seguin’s amended complaint asserts the following claims:

 (1) “Fourteenth Amendment and Article 1 Section 2 of the Rhode

 Island Constitution (Procedural Due Process Claim)” (Count I);

 (2) “Substantive Due Process Claim” (Count II); (3) “Immunities

 and Privileges Claim” (Count III); (4) “Immunities or Privileges

 Claim of Fourteenth Amendment” (Count IV); (5) “Parental Rights

 Stemming from the Due Process Right of the Fourteenth Amendment”

 (Count V); (6) “Fifth Amendment” (Count VI); (7) “Fraud Upon the

 Court” (Count VII); (8) “Rhode Island General Laws” (Count VIII);

 (9) “Equal Protection Clause” (Count IX); (10) “42 U.S.C. Section

 1982, 1983, 1985(2) and 1985(3)” (Count X); (11) “42 U.S.C.

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 Section 1986" (Count XI); (12) “First Amendment (Parental Rights

 Claim)” (Count XII); (13) “Fourth Amendment (Unreasonable Search

 and Seizure)” (also listed as Count XII); (14) “Ninth Amendment:

 Interference and Retaliation Against Plaintiff’s Exercise of her

 Right to Report Federal Law Violations by the Defendants” (Count

 XIII); (15) “First, Ninth and Fourteenth Amendments; Familial

 Integrity Violation” (Count XIV); (16) “The Supremacy Clause”

 (Count XV); (17) “Violence Against Women Act” (Count XVI); (18)

 “Due Process Right to a Fair Tribunal” (Count XVII); (19) “42

 U.S.C. Sec. 2000d et seq.” (Count XVIII); (20) “Rule Eleven

 Sanction” (Count XIX); (21) “The Commerce Clause (Article I,

 Section 8, Clause 3) and the Necessary and Proper Clause (Article

 I, Section 8, Clause 18)” (Count XX); and (22) “18 U.S.C. Sec.

 1964(c) Civil RICO” (Count XXI).          The defendants in the amended

 complaint are Judge Bedrosian, Judge McCann, Judge Capineri,

 Judge Forte, Kilmartin, Clements, and O’Donnell.           Seguin seeks

 various forms of injunctive and declaratory relief, as well as

 monetary damages against the non-judicial defendants to the

 extent they are sued in their individual capacity.



             1.    Younger
       The defendants argue that Seguin’s complaint requires

 Younger abstention.      As discussed above, Younger abstention is

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 “appropriate when the requested relief would interfere (1) with

 an ongoing state judicial proceeding; (2) that implicates an

 important state interest; and (3) that provides an adequate

 opportunity for the federal plaintiff to advance his federal

 [claim].”    Rossi, 489 F.3d at 34-35.

       As with Seguin’s motion for a preliminary injunction which

 was the subject of the magistrate’s R&R, Seguin’s amended

 complaint seeks to enjoin ongoing Family Court proceedings about

 the custody of her children, to declare orders issued in those

 proceedings void, to declare illegal and/or unconstitutional the

 procedures employed in those proceedings, and to enjoin the

 Family Court from enforcing its orders.          The relief Seguin seeks

 would interfere extensively with the ongoing judicial Family

 Court proceedings.      See Montgomery, 764 F. Supp. 2d at 333.

       As for the second factor, as explained above, the state has

 a strong interest in the issues presented in the Family Court

 cases, including child custody issues and the procedures employed

 in Family Court.     See Mann, 22 F.3d at 106.       Further, for the

 same reasons as discussed in consideration of Seguin’s motion for

 a preliminary injunction, Seguin has not “demonstrate[d] that

 ‘state procedural law barred [the] presentation of’” those

 claims.    Murphy, 70 F. Supp. 2d at 69 (quoting Pennzoil Co., 481



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 U.S. at 14).     Nor has Seguin adequately alleged that any

 exceptions to Younger abstention apply.

       Accordingly, Younger abstention applies and, therefore,

 requires the dismissal of Seguin’s claims as to the judicial

 defendants.10    See Bettencourt, 904 F.2d at 785.        Seguin’s claims

 against Clements and O’Donnell apparently stem from their failure

 to prevent or intercede with the judicial defendants’ allegedly

 unlawful behavior in the Family Court proceedings and Seguin

 seeks a prospective injunction to halt any future enforcement of

 orders entered in the Family Court proceedings.           Therefore,

 Seguin’s claims against Clements and O’Donnell are similarly

 subject to Younger abstention.11


       10
       The allegations in the RSAC against Judge Suttell and
 those concerning the alleged RICO conspiracy and secret
 agreements with Meyersiek would not change the applicability of
 Younger abstention. Seguin’s requested relief would enjoin the
 ongoing Family Court proceedings and Seguin is not barred from
 presenting those claims to the Supreme Court. Any suggestion
 that Judge Suttell’s alleged bias would create an exception to
 Younger is unavailing for the reasons discussed in the analysis
 concerning the magistrate’s R&R.
       11
       Although Clements did not join in the motion to dismiss
 because of service of process issues, “[t]he fact that the
 Younger doctrine precludes the exercise of jurisdiction in this
 action also means that the court should sua sponte dismiss the
 action” as to Clements. Lewis v. N. Am. Specialty Ins. Co., 2009
 WL 950451, at *3 (S.D. Ohio Apr. 1, 2009) (citing Am. Family
 Prepaid Legal Corp. v. Columbus Bar Assoc., 498 F.3d 328 (6th
 Cir. 2007)); see also Reinhardt v. Mass. Dep’t of Soc. Servs.,
 715 F. Supp. 1253, 1259 n.10 (S.D.N.Y. 1989) (“Our decision to

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             2.     Remaining claim

       Seguin seeks the “[a]ward of actual, compensatory, exemplary

 and incidental damages against the non-judicial defendants

 brought to this court in their individual capacity.”            As

 discussed above, the non-judicial defendants are Clements,

 O’Donnell, and Kilmartin.       Kilmartin is the only non-judicial

 defendant sued in his individual capacity.

       Seguin appears to allege that Kilmartin violated various

 laws by seeking to dismiss her § 1983 claim brought in the

 Superior Court and, in that action, making various legal

 arguments that were without merit yet were accepted by the

 Superior Court when it dismissed the action.           Even if this claim

 were not subject to Younger abstention, it would still be

 dismissed because it does not state a claim upon which relief can

 be granted.      See Fed. R. Civ. P. 12(b)(6).



                                  Conclusion

       For the foregoing reasons, Seguin’s motion for a preliminary

 injunction (document no. 5) and motions to vacate the referral

 order (document nos. 35, 36, and 60) are denied.           The defendants’



 abstain from exercising jurisdiction over this matter applies
 equally to all the defendants. Consequently, we exercise our
 power to dismiss the complaint as against Joudrey sua sponte.”).

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 motion to dismiss (document no. 62) is granted.           All other

 pending motions are terminated as moot.          The clerk of court shall

 enter judgment accordingly and close the case.



       SO ORDERED.



                                           ____________________________
                                           Joseph A. DiClerico, Jr.
                                           United States District Judge
                                           (Sitting by designation.)

 December 12, 2012

 cc:   Kevin F. McHugh, Esquire
       Rebecca Tedford Partington, Esquire
       Susan E. Urso, Esquire
       Mary Seguin, pro se




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